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CSD 2065 [08/01/2024]
Court Telephone: (619) 557-5620; www.casb.uscourts.gov

Gerald H. Davis, #110417
PO Box 38
Aguanga CA 92536
(619) 400-9997
ghd@trusteedavis.com


          UNITED STATES BANKRUPTCY COURT
              SOUTHERN DISTRICT OF CALIFORNIA
    325 West F Street, San Diego, California 92101-6991

In Re

UNIVERSITY OF ST. KATHERINE
                                                                                      BANKRUPTCY NO.    24-02975-CL7


                                                           Debtor.




                        TRUSTEE’S NOTICE OF PROPOSED ABANDONMENT OF PROPERTY

TO THE DEBTOR, ALL CREDITORS, AND OTHER PARTIES IN INTEREST:

        Pursuant to 11 U.S.C. § 554 and Federal Rule of Bankruptcy Procedure 6007(a), notice is hereby given that the
undersigned Trustee for the estate intends to abandon the following property:

PROPERTY TO BE ABANDONED:

USED TEXT BOOKS AND EDUCATION MATERIALS LOCATED IN PRIME STORAGE UNIT # 50019
(FMV) UNKNOWN (DEBT) UNKNOWN




ESTIMATED VALUE OF THE PROPERTY

AS STATED

LIENS AGAINST THE PROPERTY

AS STATED

        The property is to be abandoned because:

        X     There is little or no equity in the property for the estate/attorney fees/expenses leave little if any equity.

              Costs of collection or litigation will probably exceed any recovery

        X     Preservation of the asset is burdensome to the bankruptcy estate.

              Other:




        By abandoning the property, the Trustee is returning the property to the debtor because it cannot, for the reasons
stated above, be liquidated for the benefit of creditors. Requests for additional information about the proposed
abandonment should be directed to the Trustee named below.IF YOU OBJECT TO THE PROPOSED ABANDONMENT:



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1.     YOU ARE REQUIRED to obtain a hearing date and time from the appropriate Courtroom Deputy for the judge
       assigned to this bankruptcy case. Determine which deputy to call by looking at the Bankruptcy Case No. in the
       caption on Page 1 of this notice. If the case number is followed by the letter:

               -       CL      -        call (619) 557-6019       -        DEPARTMENT ONE (Room 218)
               -       JMB     -        call (619) 557-5157       -        DEPARTMENT TWO (Room 118)
               -       LT      -        call (619) 557-5157       -        DEPARTMENT THREE (Room 129


2.     WITHIN FOURTEEN (14)1 DAYS FROM THE DATE OF THIS NOTICE, you are further required to serve a copy
       of your DECLARATION IN OPPOSITION TO THE ABANDONMENT and separate REQUEST AND NOTICE OF
       HEARING [Local Form CSD 11842] upon the undersigned trustee, together with any opposing papers. A copy of
       these documents must also be served upon the United States Trustee at 880 Front Street, Suite 3230. The
       opposing declaration shall be signed and verified in the manner prescribed by Federal Rule of Bankruptcy
       Procedure 9011, and the declaration must:

               a.      identify the interest of the opposing party; and

               b.      state, with particularity, the factual and legal grounds for the opposition.

3.     YOU MUST file the original and one copy of the Declaration and Request and Notice of Hearing with proof of
       service with the Clerk of the U.S. Bankruptcy Court at 325 West "F" Street, San Diego, California 92101-6991, no
       later than the next business day following the date of service.

      IF YOU FAIL TO SERVE YOUR "DECLARATION IN OPPOSITION TO THE ABANDONMENT" AND
"REQUEST AND NOTICE OF HEARING" within the 14-day1 period provided by this notice, NO HEARING SHALL TAKE
PLACE, you shall lose your opportunity for hearing, and the moving party may proceed to take the intended action.


Dated: December 9, 2024                                  /s/ Gerald H. Davis
                                                         Chapter 7 Trustee
                                                         Address:        PO Box 38
                                                                         Aguanga CA 92536
                                                         Phone No.:      (619) 400-9997
                                                         E-mail:         ghd@trusteedavis.com




1
 Depending on how you were served, you may have additional time for response. See FRBP 9006
